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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Kevin Michael−Dorman
Beltowski,

                                   Plaintiff(s),

v.                                                     Case No. 5:16−cv−14224−JCO−EAS
                                                       Hon. John Corbett O'Meara
Shawn Brewer,

                                   Defendant(s).




                                  CERTIFICATE OF SERVICE

   I hereby certify that a copy of the Notice(s) of Appeal filed in this case and this Certificate
of Service was served upon:

                    United States Court of Appeals for the Sixth Circuit
                    Potter Stewart U.S. Courthouse
                    100 East Fifth Street, Fifth Floor
                    Cincinnati, OH 45202−3988

and all interested parties, by electronic means or first class U.S. mail, on December 7, 2017.




                                                   DAVID J. WEAVER, CLERK OF COURT


                                               By: s/ N Ahmed
                                                   Deputy Clerk


Dated: December 7, 2017
